       Case 1:17-cv-00732-SS Document 40 Filed 11/15/17 Page 1 of 6



             IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                        AUSTIN DIVISION

JOHN DOE,                            §
                                     §
     Plaintiff,                      §
                                     §
v.                                   § CIVIL ACTION NO. 1:17-cv-
                                     § 00732
THE UNIVERSITY OF TEXAS AT           §
AUSTIN; DR. GREGORY                  §
FENVES, individually and in his      §
official capacity,                   §
                                     §
     Defendants.                     §



                  STIPULATION OF UNDISPUTED FACTS


1. On May 17, 2016, Jane Roe reported that John Doe sexually assaulted
   her on April 15, 2016. Jane reported that both Jane and John were
   intoxicated.

2. On May 19, 2016, Title IX investigators Dean Kruse and Corey James
   Benson emailed a summons to John Doe for a scheduled meeting on
   May 31, 2016. Attached to the email were the forms What to Expect as
   a Respondent During the Title IX Investigation Process and Role of an
   Advisor.

3. The Title IX investigators met over the phone with John Doe on May
   31, 2016. They explained the Title IX investigation process. John Doe
   signed the form What to Expect as a Respondent During the Title IX
   Investigation Process. John provided his version of the events with
   Jane Doe. During the meeting with John Doe, the investigators took
   notes of John’s version of the events. The investigators provided John
   with a copy of the notes and John had the opportunity to make any
   edits and return them by June 7, 2016. John signed the notes and
   acknowledged the accuracy of the notes on June 1, 2016. The notes are
                                    1
      Case 1:17-cv-00732-SS Document 40 Filed 11/15/17 Page 2 of 6



   attached as Appendix 6 to the September 29, 2016 Investigation
   Report. See Dkt. 17.1.

4. John was provided a copy of the Notice of Complaint. John signed the
   Notice of Complaint on June 1, 2016. This signed copy of the Notice is
   Appendix 7 to the September 29, 2016 Investigation Report. See Dkt.
   17.1.

5. The investigators met with John Doe again on June 7, 2016. The
   investigators provided notes from the meeting so that John Doe could
   ensure they were accurate. John Doe acknowledged they were
   accurate. The notes are attached as Appendix 13 to the September 29,
   2016 Investigation Report. See Dkt. 17.1.

6. The investigators met with Jane Roe, the complainant, to obtain her
   version of the events, on May 23, 2016 and June 7, 2016. The
   investigators provided notes from the meeting so that Jane Roe could
   ensure they were accurate and any changes are noted on the notes.
   The notes from those meetings are attached as Appendix 3 and 12 to
   the September 29, 2016 Investigation Report, respectively. See Dkt.
   17.1.

7. The investigators interviewed W1 over the phone on May 31, 2016 and
   emailed to confirm the accuracy of the notes the investigators took.
   The notes are attached as Appendix 5 to the September 29, 2016
   Investigation Report. See Dkt. 17.1.

8. The investigators met with W2 and conducted an interview on June 2,
   2016. The investigators provided notes from the meeting so that W2
   could ensure they were accurate. The notes are attached as Appendix
   10 to the September 29, 2016 Investigation Report. See Dkt. 17.1.

9. The matter was referred to UT’s office of Student Conduct and
   Academic Integrity.

10. After being asked to schedule a meeting with a Student Conduct and
    Academic Integrity Officer, on November 21, 2016, John Doe scheduled
    a meeting to take place on December 1, 2016 with Kia Hill, a Student
    Conduct and Academic Integrity officer.
                                   2
      Case 1:17-cv-00732-SS Document 40 Filed 11/15/17 Page 3 of 6




11. On December 1, 2016, John Doe attended the meeting with Kia Hill.
    He had counsel present, Mr. Brian Roark. Ms. Hill provided What to
    Expect from a Meeting with Student Conduct and Academic Integrity
    and explained the process. Doe had an additional opportunity to
    discuss the incident regarding Jane Doe but chose not to do so. He was
    presented with an Administrative Disposition form that explained his
    options for resolution, including accepting the finding of a violation or
    challenging that finding. John Doe chose to challenge the finding by
    having his case resolved with a hearing.

12. By at least January 18, 2017, John Doe had been given several
    potential dates for a hearing and agreed to and was given notice that
    the hearing would be on February 3, 2017. John Doe had notice that
    Conrad Fjetland would be the hearing officer and Doe had an
    opportunity to object on any alleged lack of fairness or objectivity. Doe
    was also told who the witnesses could be, including Jane Roe, W1, W2,
    the investigators, and John Doe. He was also told what documents
    may be used as evidence against him. UT made available, and he
    accessed, copies of those documents on January 27, 2017 and
    afterwards. UT does not provide any mechanism for a Respondent to
    compel a witness to appear or request that one appear.

13. On February 3, 2017, John Doe had a hearing before Conrad Fjetland.
    Mr. Roark, Mr. Doe’s advisor and attorney, was present. At the
    hearing, Doe was able to present evidence, cross-examine witnesses
    (including Jane Roe (through the hearing officer)), testify, and make
    opening and closing statements.

14. On February 27, 2017, Conrad Fjetland issued his determination letter.
    The letter concluded that the evidence failed to support that John Doe
    had violated the university’s policies as alleged.

15. On March 13, 2017, Jane Roe appealed the hearing officer’s decision.
    John Doe was provided a copy of appeal letter and given the
    opportunity to respond by March 23, 2017. He wrote a response letter
    dated March 23, 2017.


                                     3
      Case 1:17-cv-00732-SS Document 40 Filed 11/15/17 Page 4 of 6



16. The Dean of Students’ Office responded to the appeal and asked the
    President to overturn Fjetland’s decision.

17. In the appeal notice letter, Mr. Doe was informed that 1) President
    Fenves will make the decision; 2) No new information related to the
    original matter will be considered; 3) oral argument will not be
    considered; 4) President Fenves has the authority to approve, reject, or
    modify the decision made by the Hearing Officer; and 5) The
    President’s decision is final.



                                   Respectfully submitted,

                                   KEN PAXTON
                                   Attorney General of Texas

                                   JEFFREY C. MATEER
                                   First Assistant Attorney General

                                   BRANTLEY STARR
                                   Deputy First Assistant Attorney
                                   General

                                   JAMES E. DAVIS
                                   Deputy Attorney General for Civil
                                   Litigation

                                   ANGELA V. COLMENERO
                                   Chief, General Litigation Division




                                    4
        Case 1:17-cv-00732-SS Document 40 Filed 11/15/17 Page 5 of 6




                                     /s/ Sean Flammer
                                     SEAN FLAMMER – Lead Counsel
                                     Assistant Attorney General
                                     Texas Bar No. 24059754
                                     H. CARL MYERS
                                     Assistant Attorney General
                                     Texas Bar No. 24046502
                                     CHRISTINE SMITH
                                     Assistant Attorney General
                                     Texas Bar No. 24088432
                                     Office of the Attorney General
                                     General Litigation Division
                                     P.O. Box 12548, Capitol Station
                                     Austin, TX 78711-2548
                                     Christine.smith@oag.texas.gov
                                     Sean.flammer@oag.texas.gov
                                     Carl.myers@oag.texas.gov
                                     (512) 463-2120 PHONE
                                     (512) 320-0667 FAX
                                     COUNSEL FOR DEFENDANTS




                   CERTIFICATE OF CONFERENCE

      I hereby certify that I conferred with opposing counsel, Brian Roark, on
November 9-10 and again on November 13-14, 2017 about the foregoing and
that each party has agreed to the above stipulated facts.


                                    /s/ Sean Flammer
                                    SEAN FLAMMER




                                      5
        Case 1:17-cv-00732-SS Document 40 Filed 11/15/17 Page 6 of 6




                      CERTIFICATE OF SERVICE
      I hereby certify that on November 15, 2017, a true and correct copy of
the foregoing document was served via the Court’s CM/ECT system to all
counsel of record.

Brian Roark
Botsford & Roark
1307 West Avenue
Austin, TX 78701
512-476-1900
brian@brianroark.com
ATTORNEY FOR PLAINTIFF

                                   /s/ Sean Flammer
                                   SEAN FLAMMER




                                     6
